Case 1:21-cr-20139-TLL-PTM ECF No. 29, PageID.112 Filed 10/15/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 1:21-cr-20139

v.                                                         Honorable Thomas L. Ludington
                                                           United States District Judge
KAREEM ABDUL-JABBAR VERTZ,
                                                           Honorable Patricia T. Morris
                  Defendant.                               United States Magistrate Judge
________________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
     DEFENDANT’S GUILTY PLEA, AND TAKING RULE 11 PLEA AGREEMENT
                         UNDER ADVISEMENT

       On July 14, 2021, Magistrate Judge Patricia T. Morris conducted a plea hearing upon

Defendant Kareem Abdul-Jabbar Vertz’s consent, after which Judge Morris issued her Report and

Recommendation, recommending that this Court accept Defendant’s guilty plea. ECF No. 28.

       Although Judge Morris’s Report stated that the parties could object and seek review within

14 days of service of the Report, neither Plaintiff nor Defendant have objected. Therefore, they

have waived their right to appeal Judge Morris’s finding that Defendant was competent to enter a

plea, and that the plea was entered knowingly, voluntarily, without coercion, and with a basis in

fact. See FED. R. CRIM. P. 11(b); Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

28, is ADOPTED.

       Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 26, is taken UNDER ADVISEMENT.

       Dated: October 15, 2021                             s/Thomas L. Ludington
                                                           THOMAS L. LUDINGTON
                                                           United States District Judge
